Case 1:05-cv-Oll44-.]DT-STA Document 6 Filed 07/15/05 Page 1 of 2 Page|D 5

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WESTERN DISTRICT oF TENNESSEE i'/`f;;¢,/»??;,;>CWO ‘?

      

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JUDGMENT IN A CIVIL CASE
PYROTEK, INC.,
V.
MARK QUACKENBUSH CASE NUN|BER: 1:05-1144-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered

iT |S ORDERED AND ADJUDGED that in compliance With the order entered in
the above-styled matter on 7/14/2005, the plaintiff’s |V|otion to Rernand is GRANTED
and this case is hereby REN|ANDED to the Circuit Court of Gibson County, Tennessee
at Trenton.

APPROVED:

  

ITED STATES DISTRICT JUDGE

THOMAS M. GOULD

 

 

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DATE' ' l DEPUTY CLERK

This document entered on the docket sheet in compiiance

with Ru|e 58 and/or 79(a) FRCP on [ l 1 q l 05 .

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
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Janice J ones

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Honorable J ames Todd
US DISTRICT COURT

